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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                    )      CASE NO.      14 – 66726- WLH
                                          )
LARRY RIDELL PHILLIPS,                    )      CHAPTER       7
                                          )
         Debtor.                          )
                                          )

                      NOTICE OF DEPOSIT OF UNCLAIMED FUNDS
                             INTO REGISTRY OF COURT

         Neil C. Gordon, the Trustee of the named estate, hereby shows the following:


         1.    In accordance with 11 U.S.C. Section 347(a), payment has been stopped
on all checks of the estate which remain unpaid, as identified in Paragraph 2. The total
sum of these checks is $14,791.02, which has been deposited with the Court for
disposition pursuant to 28 U.S.C. Sections 2041 et. seq.


         2.    Pursuant to Federal Rules of Bankruptcy Procedure 3011, the last known
name and address of each entity whose final dividend check has not been presented for
payment and the amount that such entity is entitled to be paid from the property of the
estate which has been paid into the Court is as follows:

Name and Last Known Address                                    Amount

Capital One                                                    $14,791.02
P. O. Box 85520
Richmond, VA 23285

                                           ARNALL GOLDEN GREGORY LLP

                                           /s/ Neil C. Gordon
                                           Neil C. Gordon, State Bar No. 302387
                                           Chapter 7 Trustee
171 17th Street, N.W., Suite 2100
Atlanta, Georgia 30363-1031
(404) 873-8596
Neil.Gordon@agg.com



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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above Notice of Deposit of

Unclaimed Funds into Registry of Court was sent correctly addressed with proper postage

by First Class U.S. Mail to the following:

    Office of the U.S. Trustee
    362 Richard B. Russell Building
    75 Ted Turner Drive, S.W.
    Atlanta, Georgia 30303

    Capital One
    P. O. Box 85520
    Richmond, VA 23285

    Capital One
    P.O. Box 30281
    Salt Lake City, UT 84130


             This 10th day of July, 2017.


                                                      /s/ Neil C. Gordon
                                                      Neil C. Gordon, Trustee
                                                      State Bar No. 302387




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